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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                   IN THE UNITED STATES DISTRICT COURT                 March 16, 2023
                    FOR THE SOUTHERN DISTRICT OF TEXAS               Nathan Ochsner, Clerk
                             HOUSTON·DIVISION


CARLOS MANUEL AYESTAS,                 §
                                       §
                   Petitioner,         §
                                       §
v.                                     §
                                       §        CIVIL ACTION NO. H-09 2999
BOBBY LUMPKIN, Director,               §
Texas Department of Criminal           §
Justice-Correctional                   §
Institutions Division,                 §
                                       §
                   Respondent.         §

                       MEMORANDUM OPINION AND ORDER


       This case is before the court on Carlos Manuel Ayestas' s
amended petition for a writ of habeas corpus and motion for
discovery, and Bobby Lumpkin's answer and motion for summary
judgment, and motion to strike.

                                I.    Background

       Ayestas was convicted of capital murder for murdering Santiaga
Paneque during the course of committing or attempting to commit
robbery or burglary.       The Texas Court of Criminal Appeals affirmed
Ayestas's conviction and sentence, Ayestas v. State, No. 72,928
(Tex. Crim. App. Nov. 4, 1998), and denied his application for
habeas corpus relief, Ex Parte Ayestas, No. WR-69,674-01 (Tex.
Crim. App. Sept. 10, 2008).          Ayestas filed a Petition for a Writ of
Habeas Corpus ( "Original Petition") (Docket Entry No. 1) in this
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court on September 11,         2009.      The court denied the Original
Petition on January 26, 2011 (Memorandum Opinion and Order, Docket
Entry No. 19, p. 38), and the Fifth Circuit denied a certificate of
appealability on February 22, 2012, Ayestas v. Thaler, No. 11-70004
(5th Cir. Feb. 27, 2012).        (Opinion, Docket Entry No. 30, p. 13)
        On June 3, 2013, the Supreme Court granted certiorari and
remanded the case to the Fifth Circuit for reconsideration in light
of the Supreme Court's decisions in Martinez v. Ryan, 132 S. Ct.
1309 (2012) (holding that ineffective assistance of state habeas
counsel could, in certain circumstances, constitute cause to excuse
a procedural default of an ineffective assistance of trial counsel
claim), and Trevino v. Thaler, 133 s. Ct. 1911 (2013) (holding that
Martinez     is   applicable   to   the      Texas   capital   postconviction
process).     Ayestas v. Thaler, 133 s. Ct. 2764 (2013).           The Fifth
Circuit subsequently remanded the case to this court on January 30,
2014.    Ayestas v. Stephens, No. 11-70004 (5th Cir. Jan. 30, 2014).
Following supplemental briefing by the parties,                the court,   on
November 18, 2014, again denied relief.              (Memorandum Opinion and
Order, Docket Entry No. 51, p. 16; Final Judgment, Docket Entry
No. 52)
        On December 16, 2014, Ayestas filed a Motion to Alter or Amend
the Judgment (Docket Entry No. 53).           Ayestas argued that the court
erroneously denied him leeway to develop the record, disagreed with
the court's understanding of the facts of the case and application


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of the law to those facts, and argued that the court erred in
denying him a certificate of appealability.               (Docket Entry No. 53)
She court denied the motion, finding that Ayestas's arguments did
not   satisfy    the    standards    to     alter    or     amend    a     judgment.
{Memorandum Opinion and Order, Docket Entry No. 64)
      On    January    14,   2015,    Ayestas       filed    a   Supplement       to
Petitioner's Rule 59 Motion to Alter or Amend the Judgment Urging
Court to Grant Leave to Amend Original Petition for Writ of Habeas
Corpus     ( "Supplemental Motion")       (Docket Entry No.         55).     In his
Supplemental Motion Ayestas sought to amend his petition to add an
equal protection claim based on newly discovered evidence.                      This
evidence was a memorandum prepared by Kelly Siegler (the "Siegler
Memo"), then an attorney in the Harris County District Attorney's
Office,    listing the fact that Ayestas is not a United States
citizen as a factor in favor of seeking the death penalty.                     This
statement had a line drawn through it.          The court denied the motion
to amend on several grounds.              The court found that the newly
discovered evidence was not within the scope of the remand from the
Fifth Circuit.    The court further found that Ayestas's Supplemental
Motion actually sought leave to file a successive petition that the
court lacked jurisdiction to consider.               (Memorandum Opinion and
Order, Docket Entry No. 64, pp. 3-4) Finally, the court found that
Ayestas failed to show that the document could not have been
discovered earlier through the exercise of reasonable diligence.


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(Order, Docket Entry No. 63, p. 4)         Accordingly, the court denied
the motion.   (Id. at 6.)      The Fifth Circuit affirmed the denial of
relief. Ayestas v. Stephens, 817 F.3d 888 (5th Cir. 2016), vacated
by Ayestas v. Davis, 138 S. Ct. 1080 (2018).
     On February 5, 2021, Ayestas filed a Motion for Relief from
Judgment Pursuant to Rule 60(b) (6) of the Federal Rules of Civil
Procedure (Docket Entry No. 82).         The court granted that motion on
the basis of a change in controlling law after the denial of
Ayestas's previous motion.       (Memorandum Opinion and Order, Docket
Entry No. 93)    Ayestas subsequently amended his petition to raise

two claims for relief based on the Siegler Memo.            (First Amended
Petition for a Writ of Habeas Corpus ("Amended Petition"), Docket
Entry No. 101, pp. 10, 16)         The respondent, Bobby Lumpkin, now
moves for summary judgment and dismissal of the Amended Petition.
(Respondent's Answer and Motion for Summary Judgment ("Respondent's
MSJ"), Docket Entry No. 115)


                        II.    Standard of Review

     Summary judgment is appropriate if the pleadings, depositions,
answers to interrogatories, and admissions on file, together with
the affidavits, if any, show that there is no genuine issue as to
any material fact and therefore judgment is appropriate as a matter
of law.    Fed. R. Civ. P. 56(c).          In considering a motion for
summary   judgment,   the     "evidence of the     non-movant    is to be
believed, and all justifiable inferences are to be drawn in his

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favor."     Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2513

(1986).


                            III.    Motion to Strike

       As a preliminary matter, the respondent filed a motion to
strike the evidence and argument that Ayestas submitted in response
to the motion for summary judgment.              Whether to grant a motion to
strike is left         to   the    discretion     of   the court.      Cambridge
Toxicology Group, Inc. v. Exnicios, 495 F.3d 169, 178 (5th Cir.
2007).      The material that the respondent wishes stricken was
offered in direct response to arguments raised in the Respondent's
MSJ. The respondent's argument is, in essence, that Ayestas should
have anticipated the respondent's defenses and presented his
evidence and argument in response to those defenses before the
respondent raised them.           This argument is not persuasive, and the
motion to strike will be denied.


                      IV.   Motion for Summary Judgment

A.     Successive Petition

       The respondent argues that the First Amended Petition is
successive.      Under 28 U. s. C.       §   2244 (b) (3) (A),   the court lacks
jurisdiction     to     consider     a   successive      petition    unless   the
petitioner has first obtained permission from the Court of Appeals
to file his successive petition.
       The claims for relief now before the court are an amendment
to Ayestas's Original Petition.                 The respondent argued that

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Ayestas's motion for relief from the judgment denying Ayestas's

previous motion to alter or amend the judgment was successive, and
the court has considered and rejected those arguments.                      See
Memorandum Opinion and Order, Docket Entry No. 93, pp. 4-5.
     The substantive claims now raised in the Amended Petition do
not appear, on the current record, to be "successive" within the
meaning of the federal habeas corpus statute.                That statute
provides, in relevant part, that:

     (b) (1)  A claim presented in a second or successive
     habeas corpus application under section 2254 that was
     presented in a prior application shall be dismissed
     unless-

           (A) the applicant shows that the claim relies on a
           new rule of constitutional law, made retroactive to
           cases on collateral review by the Supreme Court,
           that was previously unavailable; or

           (B) (i) the factual predicate for the claim could
           not have been discovered previously through the
           exercise of due diligence; and

           (ii) the facts underlying the claim, if proven and
           viewed in light of the evidence as a whole, would
           be sufficient to establish by clear and convincing
           evidence that, but for constitutional error, no
           reasonable factfinder would have found the
           applicant guilty of the underlying offense.
28 U.S.C. § 2244.    As discussed in more detail below, the current
record raises questions as to whether the Siegler Memo was withheld
from Ayestas and, therefore, whether it could have been discovered
earlier   through the    exercise    of due diligence.         The   claims
themselves raise questions concerning the constitutionality of
Ayestas's death sentence.

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B.      Timeliness

        The respondent next argues that the amendment runs afoul of
the statute of limitations.        Under the Antiterrorism and Effective
Death Penalty Act ("AEDPA") a state prisoner has one year in which
to file a federal habeas corpus petition.           Fierro v. Cockrell, 294
F.3d 674,     679 (5th Cir. 2002).          The statute of limitations for
bringing a federal habeas petition challenging a state conviction

begins to run on "the date on which the factual predicate of the
claim or claims presented could have been discovered through the
exercise of due diligence."        28 U.S.C. § 2244(d)(1)(D).
        Evidence suggests that the Siegler Memo was not disclosed to
Ayestas's defense counsel,         but was withheld as attorney work
product.     See, e.g., Declaration of J. Gary Hart, Exhibit D to
Mr. Ayestas's Reply in Support of Amended Petition and Opposition
to Motion for Summary Judgment (Docket Entry No. 124-4).               It was

accidentally disclosed to Ayestas's habeas counsel on December 22,
2014.    On January 9, 2015, Ayestas moved to amend his petition to
add claims related to the Siegler Memo.            See Petitioner's Motion
for Leave to Amend Original Petition for Writ of Habeas Corpus,
Docket Entry No. 54.          All of the proceedings since then have
related to that motion, including the court's original denial of
the motion and subsequent grant of the motion for relief from the
judgment based on a change in controlling law.               Ayestas raised
these claims in a timely manner.


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       While the respondent argues that the Fifth Circuit found that
Ayestas's counsel was not diligent in seeking the Siegler Memo, see
Ayestas v. Stephens, 817 F.3d at 901, that judgment was vacated,
Ayestas v. Davis, 138 S. Ct. 1080.               In addition, the Fifth Circuit
clarified that it was not referring to habeas counsel's diligence,
but to trial counsel's.            Ayestas v. Stephens, 826 F.3d 214, 215
(5th Cir. 2016).        Ayestas has now developed evidence which, at a
minimum, raises a genuine question as to whether trial counsel
could have discovered the Siegler Memo through the exercise of
reasonable diligence.          There is no law of the case precluding a
finding that Ayestas's claims are timely.

C.     Procedural Bar

       The    parties      agree   that     these    claims   are       procedurally
defaulted.        Ayestas argues,      however,      that the default can be
excused.
       A procedural bar would preclude the court from reviewing
Ayestas's claim absent a showing of cause for the default and
actual prejudice attributable to the default, or that the court's
refusal      to   review    the    claim     will   result    in    a    fundamental
miscarriage of justice. Coleman v. Thompson, 111 S. Ct. 2546, 2565

(1991).
       "Cause" for a procedural default requires a showing that some
objective factor external to the defense impeded counsel's efforts
to comply with the state procedural rule, or a showing of a prior
determination of ineffective assistance of counsel.                       Murray v.

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Carrier, 106 S. Ct. 2639, 2645 (1986); Amadeo v. Zant, 108 S. Ct.

1771, 1776      (1988).    Ayestas presents evidence that the Harris
County District Attorney's Office withheld the Siegler Memo until
its accidental discovery well into his federal habeas corpus
proceedings.     This is an event external to the defense that impeded
Ayestas's efforts to present these claims to the state court in a
timely manner and would constitute cause for the default.
       As discussed below, Ayestas raises colorable claims that the
decision to charge him with capital murder and/or to seek the death
penalty may have been based on impermissible considerations of
ethnicity, national origin, or alienage.           At the summary judgment
stage this is enough to raise a genuine issue of material fact as
to whether Ayestas suffered prejudice from the withholding of the
Siegler Memo.     Ayestas shows that there is at least a genuine issue
as to whether cause and prejudice excuse his procedural default of
these claims.

D.     Ayestas's Claims

       Ayestas argues that the charging decision violated his rights
under the Eighth and Fourteenth Amendments.          The respondent argues
that the claims are barred by the non-retroactivity rule of Teague
v. Lane, 109 S. Ct. 1060 (1989), and are without merit.

       1.    Teague
       In Teague the Supreme Court held that, except in very limited
circumstances, a federal habeas court cannot retroactively apply a
new rule of criminal procedure.         The Court explained that

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     a case announces a new rule when it breaks new ground or
     imposes a new obligation on the States or the Federal
     Government. . . . To put it differently, a case announces
     a new rule if the result was not dictated by precedent
     existing at the time the defendant's conviction became
     final.
Id. at 1070 (emphasis in original, citations omitted).            The AEDPA
effectively codified the Teague non-retroactivity rule "such that
federal habeas courts must deny relief that is contingent upon a
rule of law     not   clearly established       at   the time the state
conviction becomes final."       Peterson v. Cain, 302 F.3d 508, 511
(5th Cir. 2002) {citing Williams v. Taylor, 120         s. Ct. 1495, 1506
(2000).

           a.    Equal Protection
     The respondent argues that the equal protection claim is
barred because no prior case held that immigration status is a
protected category under the equal protection clause.                   This
mischaracterizes both the facts of the case and Ayestas's claim.
The Siegler Memo did not mention Ayestas's immigration status,
i.e., that he was in the United States illegally.         Rather, it noted
that Ayestas is not a United States citizen.         While it is true that
undocumented immigrants are,        by definition,     not United States
citizens, it is also true that many legal residents of the United
States are not citizens.     It is at least as likely that the Siegler
Memo refers to Ayestas's ethnicity or national origin as to his
immigration status, and the Supreme Court has long held that these


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are suspect classifications under the equal protection clause.
See,   e.g.,      Miller v.     Johnson,    115 s.     Ct.   2475,    2482    (1995);
Sugarman v. Dougall, 93 s. Ct. 2842, 2847 (1973).                    Because it was
well established before Ayestas's conviction became final that
discrimination on the basis of alienage, ethnicity, or national
origin is prohibited by the equal protection clause, Ayestas's
equal protection claim in not Teague-barred.

             b.       Eighth Amendment
       The principle that the Eighth Amendment bars arbitrary and
capricious imposition of the death penalty was well established
decades before Ayestas's conviction became final.
       The high service rendered by the 'cruel and unusual'
       punishment clause of the Eighth Amendment is to require
       legislatures to write penal laws that are evenhanded,
       nonselective, and nonarbitrary, and to require judges to
       see to it that general laws are not applied sparsely,
       selectively, and spottily to unpopular groups.
Furman v. Georgia,            92 s.   Ct.   2726,    2735    (1972)    (Douglas J.
concurring); see also Bordenkircher v. Hayes, 98 S. Ct. 663, 669

(1978)      (noting    that    prosecutorial        decisions   "based       upon   an
unjustifiable standard such as race, religion, or other arbitrary
classification n are unconstitutional).              Ayestas's Eighth Amendment
claim is not Teague-barred.

       2.    The Substantive Claims
       The respondent also argues that Ayestas's claims are without
merit.

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           a.     Equal Protection

     The respondent argues that the fact that the statement in the
Siegler Memo referring to Ayestas's citizenship had a line struck
through it proves that citizenship was not a consideration in the
charging   decision      and   that    there     was   therefore   no   equal
protection violation.     While the respondent's interpretation is a
reasonable one, it is not the only possibility.             The record does

not establish who struck through the statement, when it was struck
through, or the meaning of that strike.          In deciding a motion for
summary    judgment, the court must construe the facts in the light
most favorable to Ayestas and grant all reasonable inferences in
Ayestas's favor.
     The respondent also notes that the Memo is signed by four
officials of the Harris County District Attorney's Office,               and
argues that this undercuts Ayestas' s claim that his alienage
affected the charging decision because Siegler was not the sole
decision maker.    Again, the respondent's interpretation of events
is a possibility, but not the only one.           Construing the facts in
the light most favorable to Ayestas, the fact that there are four
signatures on the Memo is not fatal to the equal protection claim
because we cannot know the role played in the decision by the three
other than Siegler.
     In a similar vein, the respondent argues that Harris County
District Attorney Johnny Holmes,           not   Siegler,   was the final


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decision maker on the charging decision.         While this may be true,
it says nothing about the role the Siegler Memo played in that
decision, and nothing about whether Ayestas's alienage was a factor
in the decision.
     Finally, the respondent argues that written comments by Holmes
show that Ayestas's alienage played no role in the charging
decision.     Holmes wrote a note authorizing plea agreements with
Ayestas's accomplices, who did not kill the victim, and instructing
prosecutors to seek the death penalty against the killer - Ayestas.
The respondent argues that this shows that the decision was based
on Ayestas's role in the murder.       While the respondent's argument
appears to be correct, it does not rule out the possibility that
Ayestas's alienage was a factor.
     It may be that the respondent will be able to present evidence
showing that some or all of his interpretations of the facts, as
set out above, are correct.      Because he has not yet done so, he is
not entitled to summary judgment on the equal protection claim.

             b.   Eighth Amendment
The respondent contends that Ayestas's Eighth Amendment claim is
without merit.     As discussed above,      however,   Ayestas raises a
colorable claim that the decision to seek the death penalty against
him was arbitrary and capricious in violation of the Eighth
Amendment.



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     3.      Failure to Develop Evidence
     In a supplemental response to the amended petition,                        the
respondent argues that Ayestas cannot present any new evidence in
support of his claims under recent Supreme Court precedent.                      In
Shinn v.     Martinez Ramirez,   142 S.      Ct.    1718      {2022),    the Court
addressed when and whether a petitioner can present new evidence in
support of an argument that ineffective assistance of state habeas
counsel provides cause for a procedural default.                 The case arose
within the very specific context of that claim, which the Court, in
Martinez v. Ryan, 132 s. Ct. 1309 {2012), held could constitute
cause for a procedural default under certain circumstances.                    That
is not the procedural posture of this case.
     Ayestas has presented evidence that he has cause for his
procedural    default   that   has    nothing      to    do   with      ineffective
assistance of state habeas counsel.                 The respondent argues,
however, that Martinez Ramirez has broader application and bars the
presentation of any new evidence in a federal habeas corpus
proceeding if the petitioner was not diligent in developing that
evidence in state court.       Assuming that the respondent's broader
reading of Martinez Ramirez is correct,                 the argument is still
unavailing.     As discussed above,         if the Siegler Memo was not
included in the case file given to trial counsel for review, then
any delay in the development of this evidence was due to the
suppression of the Siegler Memo.            Martinez Ramirez does not bar
Ayestas's presentation of evidence in support of his claims.

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                       V.   Motion for Discovery

     Ayestas has filed a Motion for Discovery (Docket Entry
No. 126), which the respondent opposes (Respondent's Opposition to
Ayestas's Motion for Discovery, Docket Entry No. 129).              Ayestas
seeks various categories of documents pertaining to the Siegler
Memo and Harris County District Attorney's Office practices and
policies.
     Rule 6(a) of the Rules Governing Section 2254 Cases in the
United States District Courts provides that "[a] judge may, for
good cause,   authorize a party to conduct discovery under the
Federal Rules of Civil Procedure             "   Good cause exists "where
specific allegations before the court show reason to believe that
the petitioner may, if the facts are fully developed, be able to
demonstrate that he is          entitled to relief .              Bracy v.

Gramley, 117 s. Ct. 1793, 1799 (1997).
     The respondent first argues that the requests are premature
because Ayestas was not diligent in developing this evidence in
state court, because Ayestas is precluded by statute and Supreme
Court precedent, and - in two related arguments - because the court
has not yet determined whether Ayestas can move forward with his
claims for relief, and because Ayestas has not made a prima facie
case for relief.    All of these objections have been addressed.
     The respondent next argues that he is not in possession of the
documents that Ayestas seeks.     While this statement may be true, it
is no bar to discovery.     Ayestas's Motion for Discovery seeks leave

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to conduct discovery, not an order compelling the respondent to
produce documents.      The Federal Rules of Civil Procedure provide
mechanisms for seeking discovery from non-parties.          The fact that
the respondent is not the custodian of the documents at issue is
irrelevant to the motion at hand.
     Finally, the respondent argues that the proposed discovery is
overbroad and amounts to a fishing expedition.               The "fishing
expedition" argument is without merit;          the requests relate to
specific claims raised by Ayestas and defenses raised by the
respondent.    The motion does seek a broad range of documents,
however,   and the respondent may be correct that some of the
requests are overbroad.
     Ayestas has shown good cause for discovery.          The motion will
be granted subject to the following:
     1.    The respondent may file specific objections to the
           petitioner's discovery requests within 30 days.
           The objections may include a discussion of the
           scope of discovery permitted under Fed. R. Civ. P.
           26{b) {1).

     2.    The petitioner may respond to the respondent's
           objections within 30 days of the objections.
     3.    No extensions of these deadlines will be granted.

                            VI.   Conclusion

     Ayestas has presented evidence raising questions as to whether
the decision to seek the death penalty against him was based on
constitutionally impermissible factors.           While the respondent
raises numerous defenses to Ayestas's claims, the record, in its

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current state,        shows that there are material questions of fact

precluding the entry of judgment based on those defenses at this

time.        This is not intended as a final statement on the validity of

those defenses; it may be that a more complete record will show

that Ayestas cannot avoid a procedural bar and/or that his claims

are without merit.       At this juncture, however, the court cannot say

that the defenses preclude relief.

        For the foregoing reasons, it is ORDERED as follows:

        1.      Respondent's Opposed Motion to Strike New Evidence
                and Argument or, Alternatively, Unopposed Motion
                for Leave to File Sur-Reply to Petitioner's Reply
                to Respondent's Answer (Docket Entry No. 125) is
                DENIED;

        2.      Respondent's Motion for Summary Judgment      (Docket
                Entry No. 115) is DENIED; and

        3.      The petitioner's Motion for Discovery (Docket Entry
                No. 126) is GRANTED as set out above.

        SIGNED at Houston, Texas, on this 16th day of March, 2023.




                                                  SIM LAKE
                                    SENIOR UNITED STATES DISTRICT JUDGE




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